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     Fill in this information to identify your case:                                                                  Check as directed in lines 17 and 21:

                                                                                                                    According to the calculations required by this
     Debtor 1                Kevin                     Michael                   Koskela
                             __________________________________________________________________                     Statement:
                             First Name                     Middle Name               Last Name

                                                                                                                     X   1. Disposable income is not determined
     Debtor 2                __________________________________________________________________
     (Spouse, if filing)     First Name                     Middle Name               Last Name
                                                                                                                            under 11 U.S.C. § 1325(b)(3).

     United States Bankruptcy Court for the : __ NORTHERN DISTRICT OF ILLINOIS __                                        2. Disposable income is determined
                                                                                                                            under 11 U.S.C. § 1325(b)(3).
     Case Number ______________________________________________
      (If known)                                                                                                     X   3. The commitment period is 3 years.

                                                                                                                         4. The commitment period is 5 years.

                                                                                                                         Check if this is an amended filing

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Chapter 13 Statement of Your Current Monthly Income
                                                                                                                                                                     12/15

and Calculation of Commitment Period
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

  Part 1:                  Calculate Your Average Monthly Income



1.       What is your marital and filing status? Check one only.
           X Not Married. Fill out column A, lines 2-11.
                 Married. Fill out both Columns A and B, lines 2-11.


       Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
       case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the
       amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not
       include any income amount more than once. For example, if both spouses own the same rental property, put the income from that property in
       one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                                    Column A                    Column B
                                                                                                                    Debtor 1                    Debtor 2 or
                                                                                                                                                non-filing spouse
2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
   payroll deductions).                                                                                             $2,043.27                   $0.00

3. Alimony and maintenance payments. Do not include payments from a spouse if
   Column B is filled in.                                                                                           $0.00                       $0.00

4. All amounts from any source which are regularly paid for household expenses
   of you or your dependents, including child support. Include regular contributions
   from an unmarried partner, members of your household, your dependents, parents,
   and roommates. Include regular contributions from a spouse only if Column B is not
   filled in. Do not include payments you listed on line 3.                                                         $0.00                       $0.00

5. Net income from operating a business, profession, or farm
     Gross receipts (before all deductions)                                           $0.00
     Ordinary and necessary operating expenses                                        $0.00
     Net monthly income from a business, profession, or farm                          $0.00                         $0.00                       $ 0.00

6. Net income from rental and other real property
                                                                                      $0.00
   Gross receipts (before all deductions)
   Ordinary and necessary operating expenses                                          $0.00
     Net monthly income from rental or other real property                            $0.00                         $0.00                       $ 0.00




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Debtor 1       Kevin                     Michael                   Koskela
               __________________________________________________________________                                                                                  Case Number (if known) ______________________________
                First Name                                 Middle Name                                 Last Name


                                                                                                                                                                   Column A                             Column B
                                                                                                                                                                   Debtor 1                             Debtor 2 or
                                                                                                                                                                                                        non-filing spouse

7. Interest, dividends, and royalties                                                                                                                                               $0.00                        $0.00

8. Unemployment compensation                                                                                                                                                        $0.00                        $0.00
    Do not enter the amount if you contend that the amount received was a benefit
    under the Social Security Act. Instead, list it here:............................

     For you .........................................................................

     For your spouse ...........................................................

9. Pension or retirement income. Do not include any amount received that was a
   benefit under the Social Security Act.                                                                                                                                           $0.00                        $0.00
10. Income from all other sources not listed above. Specify the source and amount.
    Do not include any benefits received under the Social Security Act or payments received
    as a victim of a war crime, a crime against humanity, or international or domestic
    terrorism. If necessary, list other sources on a separate page and put the total on line 10c.

     10a.
                                                                                                                                                                                   $0.00                   $       0.00

     10b.
                                                                                                                                                                        $             0.00                       $0.00
     10c. Total amounts from separate pages, if any.                                                                                                                               $0.00                         $0.00
11. Calculate your total current monthly income. Add lines 2 through 10 for each
                                                                                                                                                                            $2,043.27               +            $0.00 =     $2,043.27
    column. Then add the total for Column A to the total for Column B.


  Part 2:            Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from line 11. ......................................................................................................................                                             $2,043.27
13. Calculate the marital adjustment. Check one:
      X You are not married. Fill in 0 in line 13d.
            You are married and your spouse is filing with you. Fill in 0 in line 13d.

            You are married and your spouse is not filing with you.
            Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you
            or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or
            your dependents.
            In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If
            necessary, list additional adjustments on a separate page .
            If this adjustment does not apply, enter 0 on line 13d.


                13a.                                                                                                                                           $ 0.00

                13b.                                                                                                                                           $ 0.00

                13c.                                                                                                                                           $ 0.00


                13d. Total. Add lines 3a, 3b, and 3c ....................................................                                                       $0.00        Copy total here è......... 13d.      -                $0.00


14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                                                14.         $2,043.27


15. Calculate your current monthly income for the year. Follow these steps:

    15a. Copy line 14 here            è .........................................................................................................................................................                  15a.     $2,043.27

              Multiply by 12 (the number of months in a year).                                                                                                                                                              x 12
    15b. The result is your current monthly income for the year for this part of the form.                                                                                                                         15b.     $24,519.24




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16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                                          IL
     16b. Fill in the number of people in your household.                                                                 1
     16c. Fill in the median family income for your state and size of household. .............................................................................                                       13.   $52,945.00
          To find a list of applicable median income amounts, go online using the link specified in the separate
          instructions for this form. This list may also be available at the bankruptcy clerk’s office.


17. How do the lines compare?

    17a.      X Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11 U.S.C
                § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C-2) .

    17b.        Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C.
                § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                your current monthly income from line 14 above.



  Part 3:           Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


18. Copy your total average monthly income from line 11. ......................................................................................................................                                $2,043.27

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
       that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s
       income, copy the amount from line 13d.
       If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                                              $0.00

       Subtract line 19a from line 18.                                                                                                                                                                         $2,043.27

20. Calculate your current monthly income for the year. Follow these steps:

       20a. Copy line 19b.. ...................................................................................................................................................................                $2,043.27

               Multiply by 12 (the number of months in a year).                                                                                                                                               x 12

       20b. The result is your current monthly income for the year for this part of the form.                                                                                                                 $24,519.24

       20c. Copy the median family income for your state and size of household from line 16c. ..........................................................                                                      $52,945.00

21. How do the lines compare?

   X Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period is
       3 years. Go to Part 4.

       Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
       check box 4, The commitment period is 5 years. Go to Part 4.




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 Part 4:       Sign Below


           By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


             /s/ Kevin Michael Koskela
                            Kevin Michael Koskela



             Date:11/14/2018

           If you checked line 17a, do NOT fill out or file Form 122C-2.

           If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




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